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                  I THE UITED STATES DISTRICT COURT
                FOR THE SOUTHER DISTRICT OF MISSISSIPPI
                           ORTHER DIVISIO



TERRACE TILLER                                                PLAITIFF

VS.                                                            Civil Action: 3:24-cv-94-KHJ-MTP

CITY OF JACKSO, JACKSO POLICE DEPT.                          DEFEDATS
JOH DOE 1-5

______________________________________________________________________

                              COMPLAIT
                           (JURY DEMADED)
  _____________________________________________________________________


                            JURISDICTIO AD VEUE

This matter is actionable under the United States ADA and Title I of the ADA, the U.S.

Constitution Fourteenth Amendment including Equal Protection Right, Title 42 of the

United States Code, Section 1983: 42 U.S.C. Section 1983, Title VII of the Civil Rights

Act of 1964, Section 1981 of the U.S.C., Title VII, Disparate Treatment, and this court

has supplemental jurisdiction over the state claims under 28 U.S.C. 1367. State

violations: mental anguish, body injuries, negligent hiring, negligent retention, negligent

supervising, intentional infliction of emotional distress, negligent infliction of emotional

distress,   Venue is proper because there federal questions asserted by Plaintiffs and




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Defendants are located in the jurisdiction of the Southern District of Mississippi Northern

Division.




                        EXHAUSTIO OF EEOC REMEDIES

Plaintiffs claiming discrimination of sex, race, color, retaliation and disability EEOC right

to sue letters dated for within 90 days of December 18, 2023. Attached hereto as exhibit

A.

          EXHAUSTIO OF THE REQUIRED MISS. CODE A.11-46-11(1)

Plaintiff filed the required notice of intent to sue with the City of Jackson Clerk’s office

on December 19, 2023. Hereto attached as exhibit B, Notice of intent to sue/notice of

claims.



                           PARTIES TO THE COMPLAIT
 1.     Terrance Tiller is a Hinds County Mississippi resident thereby fulfilling the

requirement of a U.S. Citizens.

2. Defendant the City of Jackson, and Jackson, Police Department is a municipality in

the State of Mississippi and may be served with process through the City’s Clerk office

located ate 219 South President Street, Jackson, MS 39201.




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3.Defendant The City of Jackson Police Department and may be served with process

through the City’s Clerk office located ate 219 South President Street, Jackson, MS

39201.



                                STATEMET OF FACTS

1. On and around, January, 2002, Plaintiff, Terrance began working as a Jackson Police

    Officer and thereafter became promoted as a Sergeant. As it would follow down

    through the year of April 13, 2020 Plaintiff, in responding to a Officer’s call in

    Jackson, MS, and in the protection of himself, while in the line of duty, he allegedly

    shot and killed a burglary suspect.1

2. Then around July 07, 2022, the then Police Chief, James Davis, issued Plaintiff a

    letter, exhibit C, that states in summary, inter alia, that plaintiff was placed on

    Administrative Leave with pay pending the outcome of the internal investigation. At

    that point of time, a Psychological Evaluation was requested by the City of Jackson

    and it’s Police Department with/to Dr. C. Bufkin Moore, to determine Plaintiff’s

    fitness for duty. The letter went on to say that Plaintiff was cleared, by Dr. Bufkin

    Moore, to return to duty as of Monday, November 23, 2020.             However, the letter

    then changes its position and states: “On Tuesday, November 24, 2022, you(Plaintiff)

    began exhibiting emotional issues, and again placed on Administrative Leave with


1 According to the letter sent from Chief Davis oce, there were other ocers whom drew the
service weapon and also 1red at the suspect. It has not been determined whether plainti’s
bullet was the actual cause of death of the suspect.

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    pay by the Jackson Police Department, while awaiting another Defendants ordered

    psychology evaluation.”please see exhibit D. Plaintiff avers that at no time during

    the events that gives rise to this suit was Plaintiff required to order his own

    psychological examination, rather only the City of Jackson, through it’s Police

    Department had that authority.

3. Importantly, the letter, exhibit C, reveals admittedly, that              Jackson Police

    Department, stated that: “on two separate occasions a Psychological Evaluation was

    requested2.      The final Psychological Evaluation request by the Jackson Police

    Department was conducted and on December 22, 2020, the psychologist

    recommended that you remain on Administrative Leave indefinitely.”

4. As a consequence, Plaintiff was later fired for his disability, of which, the City of

    Jackson and Jackson Police Department admitted that they were clearly aware of the

    fact that their retained Dr. C. Bufkin Moore was retained by the City to do

    evaluations, not plaintiff. The evidence also suggest that the Defendants knew or

    should have known about Plaintiff phycological issues3, especially since Defendants

    were the one whom dispatched Plaintiff to the fatal call and placed plaintiff on

    administrative leave.




2 JPD and the Chief of Police is whom ordered each and every psychological evaluations of
plainti, not plainti himself.
3 psychological issues are protected as mental illness under the ADA Act.



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5. As a result of Plaintiff’s ADA mental issues, please see exhibit D, as well as Plaintiff

    being terminated, this lawsuit was triggered becausePlaintiff’s claims are illuminated

    as protected under the federal ADA Act4,

6. As a result of plaintiff’s ADA protected rights were not being recognized by

    Defendants and a U.S. Constitutional right to be treated equally as others also was

    set off because Defendants terminated plaintiff, holding that plaintiff was not fit for

    the duty of an officer, The Defendants stated that:            “the City of Jackson Police

    Department has no alternative but to employ an individual who is capable of carrying

    out the essential functions and duties of the job requirements.              In light of your

    medical condition and your inability to fulfill the obligation requirements as a

    Sergeant…… Please see exhibit E third . Also, see exhibit F, what those duties

    were, as if plaintiff could not perform some other functions at the police department.

7. Moreover, and in response to his being abruptly terminated by the defendants for his

    mental health and without any record from their doctors that he was not fit to return

    to duty, Plaintiff respectfully sought to use his Family Leave time, of 12 weeks as

    well as sick time and vacation time, in order to give Plaintiff reasonable time to get

    the City’s doctor, Dr. C. Bufkin Moore, whom said to the city that plaintiff’s leave of

    absence is indefinite. Please see exhibit D.




4 For as much privacy in 1ling documents that contains medical records, plainti redacts
names in exhibit D., but the full version of the record is preserved for discovery.

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8. As a consequence, Plaintiff will show an on point violation of giving another Officer

    different treatment for her injuries, but was given reasonable accommodations from

    injuries sustained in 2015 to present day(She is on indefinite leave, as plaintiff was

    before being fired). Plaintiff avers that this violates his guaranteed 14th Amendment

    right of equal protection.

9. Plaintiff avers that exhibit E, clearly shows that Defendants knew or should have

    known that plaintiff suffers from mental health, as a result of what the City of

    Jackson pinned on Plaintiff as killing someone in the line of duty, and that such

    suffering of the mental health was a a result of doing his job for Defendants.

    However, in return, instead of defendants accommodating plaintiff in any regards, for

    his mental health issues, Defendants, fired him which alleviate defendant’s providing

    insurance for the mental illness medication and other needs of Plaintiff.

10. Plaintiff contends that the purpose of the law of ADA: Title I

Applies to: employers that have 15 or more employees, including state/local

governments, employment agencies, and labor unions.

General requirement: Employers must provide people with disabilities an equal

opportunity to benefit from the employment-related opportunities available to others.

This includes things like recruitment, hiring, promotions, training, pay, and social

activities.

The ADA includes specific requirements for employers to ensure that people with

disabilities have equal access to employment.The ADA defines disability as a physical or

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mental impairment that substantially limits one or more major life activities. When job

applicants or employees have a mental health condition that meets this criteria, they have

workplace rights under the ADA. The ADA Amendments Act of 2008 (ADAAA) recently

broadened the definition of disability to provide legal protections against employment

discrimination for more individuals with disabilities, including people with psychiatric

disabilities.Record of psychiatric disability. The ADA also prohibits discrimination

against individuals who have a record (history) of a psychiatric disability or are regarded

as having a psychiatric disability. This means, for example, that qualified individuals who

have a history of psychiatric disability cannot be discriminated against just because of

that history. Also, employers can’t take actions (such as failing to hire, demoting or

denying training opportunities) because they believe a qualified applicant or employee

might have a psychiatric disability.Rights under the ADA. Applicants and employees

with psychiatric disabilities have two main rights under the ADA. First, they have a right

to privacy. Except when asking for an accommodation, they can choose whether to tell

the employer about their disability. Second, they have a right to a job accommodation

unless this causes undue hardship for the employer.

11. Moreover, upon information and belief,        The words “psychiatric disability” and

    “mental illness” are often used interchangeably. The term mental illness is typically

    used in a medical context to refer to a wide range of conditions related to emotional

    and mental health. The term psychiatric disability is typically used in a legal or policy

    context to refer to impairments covered under the ADA.

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  •      psychiatric diagnoses include anxiety disorder, depression, attention deficit/

        hyperactivity disorder (ADHD), bipolar disorder and schizophrenia.

  •     Overall, about 44 million adults (over age 18) in the U.S. report having had any

        mental health condition during the past year, representing about 18.5% of the U.S.

        population.

  •     Among these U.S. adults, the National Institute of Mental Health estimates that:

             18% have an anxiety disorder (including post-traumatic stress disorder,

              obsessive-compulsive disorder, panic disorder and generalized anxiety

              disorder)

             9.5% have depression

             4% have attention deficit/hyperactivity disorder

             2.6% have bipolar disorder

             1% have schizophrenia

  •     About 18% of workers in the U.S. report having a mental health condition in any

        given month. This means that psychiatric disability is one of the most common

        types of disability covered under the ADA.

12. Plaintiff contend that he was stripped of his disability rights for his illness as well as

those protected right of Equal Protection by Defendants.        Accordingly, it appears that

Defendants simply do not tend to support the law for mentally ill person’s employed

under them.. In fact, Plaintiff avers that;



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Disclosure is a choice. According to the ADA, employers can’t require applicants or

employees to disclose a disability (with a few exceptions described below). So, in most

cases, disclosing a psychiatric disability is a choice, not a requirement. Individuals who

choose not to tell about their mental health condition are not “lying” or “hiding.” They

are using a legally protected choice.After the job offer. Once a job has been offered,

applicants may be asked to take a medical exam before starting work. If this exam reveals

a psychiatric disability, the job offer can only be withdrawn if there is evidence that the

person won’t be able to do the essential functions of the job without an accommodation

and can’t be reasonably accommodated or the disability poses a real safety issue.On the

job. Employees generally can’t be required to disclose a psychiatric disability unless

requesting a job accommodation. Then, the employer can ask for some medical

documentation about the disability. This medical information can’t be shared with others

in the workplace.

13. In this case, Defendants, had a duty to follow the ADA employment requirements,

but instead, ignored the law and such intentional and in some instances gross negligence

of Plaintiff’s United States ADA and Title I rights, the 14th Amendment Equal protection

rights, Section 1981 Title VII rights as well as those state rights as shown in the

paragraphs above, has severely and in some ways permanently injured plaintiff.

14. Plaintiff contends by not allowing him to use his sick leave, vacation nor Family

Medical Leave, as Defendants have done in cases prior to Plaintiff, retaliation is shown in



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Defendants conduct.5 However, to show one showing now in the complaint, Plaintiff

offers exhibit G, Officer KB, lawsuit filed at 3:19-cv-KHJ-FKB filed 11/10/20196.



                                    CAUSE OF ACTIO

14. Plaintiff ’s claims of the ADA Act, Title 1, the U.S. Constitution                 Fourteenth

Amendment including Equal Protection Right, Title 42 of the United States Code, Section

1983: 42 U.S.C. Section 1983, Title VII of the Civil Rights Act of 1964, Section 1981 of

the U.S.C., Title VII, and this court has supplemental jurisdiction over the state claims

under 28 U.S.C. 1367. State violations: mental anguish, body injuries, negligent hiring,

negligent retention, negligent supervising, intentional infliction of emotional distress,

negligent infliction of emotional distress.       Also, this suit is authorized and instituted

pursuant to the Civil Rights Act of 1866, 42 U.S.C. § 1981 (Section 1981); and

Declaratory and Injunctive relief pursuant to 28 U.S.C. §2201 and 2202. Title VII

Retaliation, Title 41§ 60-3.11 Disparate Treatment, Disparate treatment occurs where

members of a race, sex, or ethnic group have been denied the same employment,

promotion, membership, or other employment opportunities as have been available to

other employees or applicants; intentional infliction of emotional distress, and Federal m

and are actionable before a jury in facts as offered in this case.

5 Plainti intend to show upon discovery more details of other police ocers whom were
provided those rights to use their sick leave, FML, and/or vacation instead of termination or
any other irreparable harm to them.
6 This lawsuit is 1led as a public record and there did not appear to be a seal as to the
complaint’s claims which are homogeneous to plainti’s claims.

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15. Plaintiff contends the 14th United States Constitution allows that as a male employee

of the City of Jackson and Jackson Police Department, he is protected as a class of

person[s] equal protection and treatment under the law.

16 Plaintiff seeks the right to recover damages under § 1981, and 1983 as well as ADA

Act for retaliation while they, as an employee of the City of Jackson.

56.     Defendants, knew or should have known that its policies and procedure are

prohibited under the law as claimed hereto.      Plaintiff contends that defendants did not

take any steps necessary to prevent the ADA violations, sex discrimination against

plaintiff nor any of the other claims sought by Plaintiff.         Therefore, an injunction is

proper to prohibit the ill conduct by defendants.

57.    Plaintiff seeks compensatory and equitable relief based on the jury findings and

damages including lost wages and benefits lost due to being terminated for his illness,

future pecuniary losses, emotional pain, suffering, inconvenience, mental anguish, pain

and suffering, loss of enjoyment of life, and other non pecuniary and pecuniary losses

for which she is entitled to recover under his causes of action.

58.    Equitable relief in the form of a declaratory injunctive relief from future ADA

violations, discrimination and/or retaliation.

59. Attorney fees, interest, and costs of court involving this lawsuit, including trial and

appeals if applicable at any point.

60. Plaintiff seeks punitive damages to deter the ill conduct as sought by the claims.

Plaintiff request for a jury is in keeping with the entitled rights as provided by law where

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plaintiff has reasonable expectation of a judgment against all Defendants known and

unknown at this time.



12. RESPECTFULLY SUBMITTED this the 14th day of February, 2024

/s/ Abby Robinson esq. MSB(105157)

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